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                                   STATEMENT OF FACTS

        Your affiant, Susana Haberman, is a Special Agent with the Federal Bureau of
Investigation (FBI). I have been in this position since 2004. Currently, I am tasked with
investigating criminal activity in and around the Capitol grounds on January 6, 2021. As a Special
Agent, I am authorized by law or by a Government agency to engage in or supervise the prevention,
detention, investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of



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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        On or about January 14, 2021, an unidentified individual (“Citizen 1”) notifed the FBI that
STACY WADE HAGER (“Hager”) posted pictures and videos of himself trespassing in the U.S.
Capitol on his Facebook page. According to Citizen 1, HAGER also posted words to the effect of,
“it’s war, don’t go quietly.” Citizen 1 indicated that HAGER later took down the posts. On or
about January 20, 2021, an individual known to the FBI with personal knowledge of HAGER
(“Citizen 2”) contacted the FBI to submit an online tip that indicated that HAGER posted on
Facebook that he was at the Capitol on January 6, 2021, and had been walking around inside the
building. Citizen 2 identified HAGER”S Facebook account and included a screenshot of
HAGER’s Facebook page, but also indicated that Hager had since deleted that post.

         On or about January 21, 2021, FBI agents identified a Facebook account for Hager and
reviewed publicly available information. Agents compared profile pictures posted by the account
user to known photos of Hager obtained from law enforcement databases and believe that Hager’s
image appears as the profile picture on the subject account. Hager appears to use multiple spellings
for his first name and the Facebook account lists the subject account user as “Stacy Wade Hager”
with display name “StacyWade.” The publicly available information on the subject account
showed, among other things, a photograph of Hager and an unidentified male on the lawn in front
of the U.S. Capitol on January 6. Hager was wearing a “Trump” baseball cap, a gray outer jacket,
a dark navy or black colored coverall and appeared to be waving a Texas state flag, with the other
male waving a United States flag. Hager was also holding a gray green coffee tumbler. The
photographs and Hager’s post on the subject account corroborate Citizen 1 and Citizen 2’s
statements regarding HAGER’s activity on January 6, 2021.

           The following includes a screenshot of the aforementioned photograph with HAGER
circled:




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       In April 2021, a search warrant for the Facebook account (Facebook UID 842329274) was
obtained. Search warrant records identified HAGER as the subscriber of the Facebook account.
Telephone subscriber records for a cellular telephone associated with HAGER, revealed HAGER
was the subscriber of the cellular telephone number, and that same cellular telephone number was
associated with the Facebook account (Facebook UID 842329274).

        Agents also viewed digital media, videos, and photos from the January 6, 2021, riot to
identify potential footage of HAGER inside the U.S. Capitol. Mulitple potential images of HAGER
from within the U.S. Capitol were identified. Five of those videos were compatible with known
photographs of HAGER obtained from law enforcement databases. The videos show HAGER both
inside and outside the U.S. Capitol Building during the riot on January 6, 2021.

    Multiple individuals have submitted or referenced a video from London-based news
organization “ITV News” to the FBI to report evidence of violations of local and federal law, to
include scores of individuals inside the U.S. Capitol building without authority to be there. The
ITV News video submitted to the FBI, and located in FBI holdings with a filename ending “…Mob
breaks into capital 2.mp4,” is a seven-minute video containing ITV News footage from inside the
U.S. Capitol. 1 A person who appears to be HAGER is observed at approximately two minutes and
thirty-two seconds inside the U.S. Capitol Building after the rioters had breached the police lines,
holding a Texas flag and wearing the same clothing as in the aforementioned photograph posted
on his Facebook account. The following is a screenshot from this video with HAGER circled:




    Agents have also reviewed bodycam footage from the District of Columbia Metropolitan
Police Department (“MPD”) from January 6, 2021. In one video Hager engages with an MPD
officer at the top level of the U.S. Capitol exterior. The MPD officer told HAGER, in sum and
substance, “Nah, nah, I get it, you are just walking up behind our line.” HAGER then responded:
“Actually that was my purpose.” The MPD officer continued, “If you could not, we are all trying
to stay safe and get home.” HAGER replied, “I know you are and I really respect y’all.” However,
HAGER continued to walk past the MPD officer and through the barricades where he was

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    As of May 11, 2021, the referenced video continued to be publicly accessible at https://youtu.be/UBp42536IhE.


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instructed by police not to go. HAGER is seen wearing the same clothing as shown on the
aforementioned Facebook photo and is carrying an object that appears to be a wrapped-up Texas
flag and a coffee tumbler. The following are three screenshots from the MPD bodycam footage
with HAGER circled in each:




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        On or about January 13, 2021, HAGER posted a lengthy, public description on the
Subject Account of his experience at the Capitol on January 6, 2021. Among other things, he
indicated that “we opted to scale the wall” and: "We waited twice to regroup before reaching the
second wall designated with a third bullhorn guy yelling a steady drone of ‘Patriots move
forward.’ This was the wall that divides sane and insane, civil and disobedient, frantic and
mayhem, relative safety and imminent danger. This wall being same as the last, four foot this
side, two foot that and as soon as [REDACTED NAME] cleared the crowd we moved to an
opening and climbed up one at a time...and that was the first time I felt invincible as another
three or four flash bomb teargas whatevers broke the roar of yelling people for a split second a
peace.”
        A search warrant for HAGER’s Facebook account was obtained and corroborated much
of the information above, and also revealed HAGER and his associate drove to Washington D.C.
to attend the rally. Additional photographs and videos were also located from the rally and the
storming of the capitol. And several of the photographs on HAGER’s Facebook returns appear to
have been taken from inside the capitol.

        HAGER took photographs of himself at the U.S. Capitol with the Device and posted
these images to his Facebook account. Videos I reviewed from the January 6, 2021, breach at the
U.S. Capitol show HAGER carrying a cell phone through the interior of the U.S. Capitol
building. The Device is owned by HAGER based upon subscriber information legally obtained
from AT&T. Additionally, according to records obtained through a search warrant which was
served on AT&T, on January 6, 2021, in and around the time of the incident, the Device
associated with               was identified as having utilized a cell site consistent with
providing service to a geographic area that includes the interior of the United States Capitol
building.

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      Based on the foregoing, your affiant submits that there is probable cause to believe that
STACY WADE HAGER violated 18 U.S.C.                       and (2), which makes it a crime to (l)
knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions or attempts or conspires
to do so. For purposes of Section 1752 of Title 18, a "restrictedbuilding" includesa posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any buildingor grounds so restrictedin conjunctionwith an event designatedas a
special event of national significance.


       Your affiant submits there is also probable cause to believe that STACY WADE HAGER
violated 40 U.S.C. 5104(e)(2)(D)and (G), which makes it a crime to willfully and knowingly
D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at
any place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or
disturb the orderly conduct of a session of Congress or either House of Congress, or the orderly
conduct in that building of a hearing before, or any deliberations of, a committee of Congress or
either House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.



                                                     s       A HABE        N
                                                     Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 19thday of May, 2021.                                  Digitally signed
                                                                            by G. Michael
                                                                            Harvey
                                                     G. MICHAEL HARVEY
                                                     U.S. MAGISTRATE JUDGE




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